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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


In re Mylan N.V. Securities Litigation      Case No. 1:16-CV-07926 (JPO)

                                            MEMORANDUM OF LAW IN
                                            OPPOSITION TO DEFENDANTS’
                                            MOTION TO DISMISS IN PART THE
                                            SECOND AMENDED COMPLAINT
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AC or FAC                   Amended Class Action Complaint for Violation of Securities
                            Laws (March 20, 2017) [Dkt. 39]
Actavis                     Actavis Generics
Amended Complaint           Amended Class Action Complaint for Violation of Securities
                            Laws (March 20, 2017) [Dkt. 39]
Class Period                February 21, 2012 to October 30, 2017, inclusive
Company                     Mylan N.V. and/or Mylan Inc.
CT AG                       Attorney General of the State of Connecticut
CW                          Confidential Witness (described in SAC ¶ 121)
Defendants                  Mylan N.V., Mylan Inc., Heather Bresch, Robert J. Coury,
                            Paul B. Campbell, Kenneth S. Parks, and John D. Sheehan
Defs.’ Mem.                 Memorandum of Law in Support of Defendants’ Partial Motion
                            to Dismiss [Dkt. 96]
DOJ                         U.S. Department of Justice
Doxy DR                     doxycycline hyclate delayed release
Doxy Mono                   doxycycline monohydrate
EpiPen                      EpiPen Auto-Injector® and EpiPen Jr. Auto-Injector®
Exchange Act                Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq.
FDA                         U.S. Food and Drug Administration
Glip-Met                    glipizide-metformin
Heritage                    Heritage Pharmaceuticals Inc.
Individual Defendants       Heather Bresch, Robert J. Coury, Paul B. Campbell, Kenneth
                            S. Parks, John D. Sheehan and Rajiv Malik
Mayne                       Mayne Pharma (USA), Inc.
MTD Op.                     March 28, 2018 Opinion and Order [Dkt. 69]
Mylan                       Mylan N.V. and/or Mylan Inc.
Plaintiffs                  Menorah Mivtachim Insurance Ltd., Menorah Mivtachim
                            Pensions and Gemel Ltd., Phoenix Insurance Company Ltd.,
                            Meitav DS Provident Funds and Pension Ltd. and Dan
                            Kleinerman
PSLRA                       Private Securities Litigation Reform Act of 1995
SAC                         Second Amended Class Action Complaint for Violation of
                            Securities Laws (July 6, 2018) [Dkt. 89]
Sanofi                      Sanofi-Aventis S.A.
Section 1                   Sherman Antitrust Act of 1890, 15 U.S.C. § 1
Section 2                   Sherman Antitrust Act of 1890, 15 U.S.C. § 2
Sherman Act                 Sherman Antitrust Act of 1890, 15 U.S.C. §§ 1-7
State AGs                   The Attorneys General serving as Plaintiffs in Connecticut v.
                            Aurobindo Pharma USA, Inc., No. 2:17-cv-03768, including
                            those of Alabama, Arizona, California, Colorado, Connecticut,
                            Delaware, Florida, Hawaii, Idaho, Illinois, Indiana, Iowa,
                            Kansas, Kentucky, Louisiana, Maine, Maryland,
                            Massachusetts, Michigan, Minnesota, Mississippi, Montana,


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                           Nebraska, Nevada, New Hampshire, New Jersey, New York,
                           North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
                           Pennsylvania, South Carolina, Tennessee, Utah, Vermont,
                           Virginia, Washington and Wisconsin.
State AGs’ Complaint       Consolidated Amended Complaint, Connecticut v. Aurobindo
                           Pharma USA, Inc., No. 3:16-cv-02056 [Dkt. No. 1] (D. Conn.
                           Dec. 14, 2016)
State AGs’ AC              [Proposed] Consolidated Amended Complaint in Connecticut
                           v. Aurobindo Pharma USA, Inc., No. 2:17-cv-03768 [Dkt. No.
                           3] (E.D. Pa. Oct. 31, 2017)
SOX                        Sarbanes-Oxley Act of 2002
SEC                        United States Securities and Exchange Commission
Section 10(b)              Securities Exchange Act, 15 U.S.C. § 78j(b)
Section 20(a)              Securities Exchange Act, 15 U.S.C. § 78t(a)
Teva                       Teva Pharmaceutical Industries Ltd.




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                              I.   PRELIMINARY STATEMENT

       In its March 28, 2018 Opinion, the Court sustained the majority of the allegations in the

Amended Complaint. The Court found that Plaintiffs had adequately pleaded that Defendants

had repeatedly misled investors for years about their classification of the EpiPen for the purposes

of the MDRP. MTD Op. 15-20, 24-25. The Court also found that Plaintiffs had adequately

pleaded that Defendants had colluded with competitors to fix the price of five generic drugs and

had misleadingly concealed that activity from investors. MTD Op. 11-15, 30-34. However, the

Court dismissed certain portions of the FAC. The Court found that Plaintiffs had not adequately

alleged that Defendants had engaged in an illegal pay-for-delay scheme with Teva, or that

Defendants had entered into anticompetitive exclusive dealing agreements with schools for

EpiPen. Accordingly, the Court found that Plaintiffs had not adequately pleaded any

misrepresentations or omissions relating to Mylan’s anticompetitive activity to further the

success of EpiPen. MTD Op. 27-30. Also, while the Court found that Plaintiffs had adequately

alleged that Mylan had agreed to allocate the market for Doxy DR with competitors, the Court

found that Plaintiffs had not adequately pleaded Defendants’ scienter with respect to this

conduct. MTD Op. 31, 34-35.

       The SAC alleges numerous newly discovered facts that address these deficiencies. Most

significantly, the SAC alleges that Defendants participated in further anticompetitive activity to

ensure the success of EpiPen. The moment a strong competitor to EpiPen—Sanofi’s Auvi-Q—

emerged on the market, Mylan began to offer massive rebates on EpiPen to third-party payors

expressly contingent on their excluding this competing product from their formularies. A federal

district court recently held, correctly, that Sanofi’s pleading of this same conduct stated a claim




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for Mylan’s violation of antitrust laws.1 Yet regardless of whether Mylan’s anticompetitive

rebates violated antitrust laws (they did), Mylan misled investors, among other ways, by failing

to disclose that it competed through offering these exclusionary rebates for EpiPen.

        The SAC also plainly cures the deficiency the Court found in the FAC’s allegations of

Defendants’ scienter with respect to Mylan’s agreement to allocate the market for Doxy DR.

The SAC alleges in detail, with reference to specific phone conversations and emails, that

Mylan’s President, Defendant Malik, personally participated in discussions furthering Mylan’s

allocation of the market for this drug. The SAC also newly alleges, with reference to particular

conversations on specific dates, that Mylan expressly agreed with competitors to fix the price of

three additional generic drugs: Glip-Met, Verapamil and Doxy Mono.

        In response to these robust, well-pleaded and damning new allegations, Defendants

reflexively fire off a scattershot motion to dismiss in part. Defendants hit next to nothing.2

While Plaintiffs provide detailed responses below to each of Defendants’ arguments,

Defendants’ broadest concern seems to be that the SAC alleges “various unrelated forms of

alleged anticompetitive activity and regulatory investigation.”                (Defs.’ Mem. 1.)         Here,

Defendants are correct: the array of Mylan’s violations of law currently subject to government

investigations and civil suits is dizzying. Nevertheless, as a legal matter, this class action focuses

narrowly on one set of wrongdoing by Mylan—its misrepresentations and omissions to the

market about its wrongdoing.           That the SAC contains so many allegations of underlying

wrongdoing is a testament not to some gift for pleading on the part of Plaintiffs, but to the

breadth and depth of the wrongful means the Company uses to compete.


1
 See In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust Litig., No. 17-md-02785, 2017
U.S. Dist. LEXIS 209710, at *77-78 (D. Kan. Dec. 21, 2017).
2
  Plaintiffs agree that Defendant Malik may be held liable only for claims based on statements made on or after
July 7, 2013. (Defs.’ Mem. 24-25.)


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                                   II.    STATEMENT OF FACTS

        Beyond the extensive allegations in the FAC already sustained by the Court,3 the SAC

details several additional bases for Defendants’ liability, including misrepresentations and

omissions relating to: (1) Mylan’s anticompetitive conduct with respect to EpiPen, including

offering rebates conditioned on excluding Sanofi from the market for epinephrine autoinjectors,

(2) its allocating the market for Doxy DR and the personal involvement of Defendant Malik in

that scheme, and (3) its fixing the price of three additional generic drugs, Glip-Met, Verapamil

and Doxy Mono.         The SAC also alleges one additional stock price drop as a result of

Defendants’ fraud.

        A.      Mylan Excluded Sanofi from the Market for Epinephrine Autoinjectors by
                Offering Anticompetitive Rebates to Third-Party Payors Conditioned on
                Excluding Sanofi’s Auvi-Q
        From 2013 to 2015, commercial insurance companies and pharmaceutical benefit

managers (who manage the pharmacy benefits of group health plan sponsors) (together “third-

party payors”) accounted for 71% of the market for epinephrine autoinjectors in the U.S. (SAC

¶ 101.) Given the dominance of commercial third-party payors in the market for epinephrine

autoinjectors, a drug company seeking to enter this market must have its drug included on the

lists of drugs for reimbursement maintained by third-party payors (their “formularies”). (SAC

¶ 102.) These formularies are tiered according to required co-payments, so consumers are

incentivized to select drugs on tiers with lower co-pays. (Id.) If a drug is wholly excluded from

a third-party payor’s formulary, the drug is often too expensive for patients to purchase. (Id.)

        Mylan has monopoly power in the market for epinephrine autoinjectors. (SAC ¶ 100.)

Since Mylan acquired EpiPen, the product has accounted for more than 90% of the U.S. market


3
 Plaintiffs incorporate by reference the Statement of Facts in Plaintiffs’ Opposition to Defendants Motion to
Dismiss the Amended Complaint [Dkt. 49].



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for these devices, and Mylan has increased the price for EpiPen more than 500%. (Id.)

       In January 2013, the drug company Sanofi-Aventis U.S. LLC (“Sanofi”) introduced an

epinephrine autoinjector, the Auvi-Q, to compete with the EpiPen and sold it for roughly the

same price as the EpiPen’s. (SAC ¶ 103.) The Auvi-Q was a superior autoinjector to the EpiPen

in several ways, including that the device was smaller, easier to carry, and provided audible

instructions that panicked first-time users could follow without reading directions. (Id.) This

innovative device sold successfully in the first few months following its release. (Id.)

       Mylan responded to this new competitive threat by excluding the Auvi-Q from the

market. (SAC ¶ 104.) Shortly following the release of the Auvi-Q, Mylan began offering

massive rebates to third-party payors on the express condition that the third-party payors not

include the Auvi-Q in their formularies. (Id.) These highly unusual rebates amounted to 30% or

more of the price that Mylan otherwise would have offered. (Id.) Mylan had no legitimate

business reason to offer these unprecedented rebates conditioned expressly on excluding the

Auvi-Q from the market; they were offered to block that device from competing. (Id.)

       Due to Mylan’s price increases, the net, after-rebate price of EpiPen actually rose after

Mylan began its exclusionary rebates. (SAC ¶ 105.) Mylan offered no rebates when it sold the

EpiPen in 2012 for around $200, but when Mylan began to offer a 30% rebate on the EpiPen and

increased its price to around $300 by 2014, the net price of EpiPen rose to $210. (Id.)

       Sanofi was unable to offer massive rebates on Auvi-Q in line with those offered by

Mylan for EpiPen. (SAC ¶ 106.) Given Mylan’s monopoly market share, the opportunity cost to

third-party payors of foregoing Mylan’s rebates was very significant. (Id.) As the Auvi-Q held

only around 10% of the market, Sanofi would have had to offer rebates far greater than Mylan’s

(and far in excess of its revenues from Auvi-Q) in order to match the total value of Mylan’s




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rebates that the payor would have to forego in order to buy the Auvi-Q. (Id.)

           Mylan successfully blocked Auvi-Q from accessing nearly 50% of the U.S. market for

epinephrine autoinjectors. (SAC ¶ 107.) In 2014, Mylan’s anticompetitive rebates blocked

Auvi-Q from about 45% of the individuals covered by commercial payors. (Id.) In certain states

in which third-party payors that did not cover Auvi-Q due to Mylan’s exclusionary rebates were

particularly pervasive, Sanofi’s Auvi-Q was blocked from significantly more than 50% of the

market. (Id.) Moreover, the decisions of third-party payors not to cover Auvi-Q also led doctors

to decline to prescribe Sanofi’s product, which led to Mylan’s effectively excluding the Auvi-Q

from well over 50% of the national market for epinephrine autoinjectors. (SAC ¶ 108.)

           When Mylan’s conditional rebates blocking Auvi-Q took effect around December 2013,

Auvi-Q’s U.S. commercial payor market share in the market for epinephrine autoinjectors

dropped by nearly 50%, from about 13% to 7% by early 2014. (SAC ¶ 110.) By April 2014,

Auvi-Q’s national market share across all payors had slid from 11% in mid-2013 to only 6%,

while its market share in 2014 had been projected by Sanofi to exceed 20%. (Id.) By October

2015, Auvi-Q’s national market share was less than half of what Sanofi had projected. (Id.)

           Ultimately, in October 2015, Sanofi was forced not to relaunch Auvi-Q due to the impact

of Mylan’s anticompetitive rebates. (SAC ¶ 113.) In April 2017, Sanofi sued Mylan for antitrust

violations,4 and on December 21, 2017, the district court held that Sanofi had adequately pleaded

antitrust claims based on substantially the same facts as those alleged here.5 (Id.)

           B.      Mylan Conspired with Other Drug Companies To Allocate the Market for
                   Doxy DR To Maintain Its Price at a Supracompetitive Level
           In mid-2013, Heritage executives began to reach out to Mylan executives in an effort to

4
  See Sanofi-Aventis U.S. LLC v. Mylan Inc., No. 17-cv-02763-FLW (D.N.J. Apr. 24, 2017), consolidated under
In re: EpiPen Marketing, Sales Practices and Antitrust Litigation, No. 17-md-2785 (D. Kan.).
5
    See In re EpiPen, 2017 U.S. Dist. LEXIS 209710, at **77-78.



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divide the market for Doxy DR in order to refrain from competing with each other on prices.

(SAC ¶ 126.) In April 2013, Jason Malek, Vice President of Commercial Operations at Heritage

(“Malek”) and Heritage CEO Jeffrey Glazer (“Glazer”) met with two executive of Heritage’s

parent company, Emcure, and discussed their plans to enter the Doxy DR market and to

coordinate how Heritage and Mylan could minimize competition between them. (SAC ¶ 127.)

The group initially decided that Satish Mehta (“Mehta”), the CEO of Emcure, would reach out to

Defendant Rajiv Malik, President and Executive Director of Mylan, to facilitate subsequent

communications between Glazer and Malek and their Mylan counterparts. (Id.)

       On May 7, 2013, Glazer emailed Malik in an effort to discuss dividing the market for

doxycycline. (SAC ¶ 129.) Malik responded with a phone number where he could be reached in

England. (Id.) Malik and Glazer spoke the next day. (Id.) During this call, Glazer explained to

Malik that Heritage had strong business relationships with two of Mylan’s Doxy DR

customers—a large wholesaler and a large retail pharmacy—and that Heritage intended to pursue

Mylan’s business at those two accounts.       (SAC ¶ 130.)    These two accounts represented

approximately thirty-percent of the market. (Id.)

       Malik agreed to give up the two accounts to Heritage, and to allocate the market for Doxy

DR between Heritage and Mylan. (SAC ¶ 131.) Malik specifically cited Heritage’s prior

agreement to allow Mylan to enter the market for another drug without competition as a reason

that Mylan would give up market share to Heritage in this instance. (Id.) Malik told Glazer that

he would let others at Mylan know of the plan. (Id.)

       On July 8, 2013, Heritage submitted a proposal letter to the large retail pharmacy account

to obtain its Doxy DR business. (SAC ¶ 140.) Concurrently, both Heritage and Emcure kept

Mylan updated on Heritage’s efforts. (SAC ¶ 141.) Heritage particularly wanted to ensure that




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Mylan was committed and would cede the pharmacy account to Heritage. (Id.) Thus, on

July 18, 2013, Mehta spoke to Malik to obtain his assurance. (Id.) The substance of their

conversation was conveyed by Emcure personnel to Glazer by email shortly thereafter. (Id.)

       In February 2014, Mayne also entered the market for Doxy DR. (SAC ¶ 146.) Mayne

approached Heritage even before it began selling the generic drug, in an attempt to obtain some

of Heritage’s market share, for example, on a phone call on January 7, 2014. (Id.) Shortly

thereafter, Mayne made an unsolicited bid for the Doxy DR business of a large drug wholesaler.

(SAC ¶ 147.) The bid prompted the wholesaler to approach Mylan, its supplier at the time of

Doxy DR, and Heritage, to see whether they would submit competing bids. (Id.) Internally at

Heritage, Malek noted that Heritage had sufficient supply of Doxy DR to meet the requirements

of the wholesaler and to place a bid for those requirements, but Malek and others at Heritage

worried that Mylan would perceive such a bid as an attack on Mylan’s Doxy DR business in

violation of the market allocation agreement between Heritage and Mylan.            (SAC ¶ 148.)

Accordingly, the day after these internal discussions at Heritage took place, Heritage responded

to the wholesaler that it declined to place a bid for its Doxy DR business. (Id.)

       In late March 2014, Heritage learned that Mayne had made an unsolicited bid for Doxy

DR to one of Heritage’s large nationwide pharmacy accounts. (SAC ¶ 149.) This conflict was

resolved when Mayne agreed to walk away from the large account. (Id.)

       Mylan and Heritage continued to honor their agreement to allocate market share of Doxy

DR and to avoid competing against each other. (SAC ¶ 152.) For example, on August 29, 2014,

Malek emailed a contact at Mylan and indicated that their agreement was still in effect. (Id.)

       C.      Mylan Agreed with Competitors to Fix the Prices of Glip-Met, Verapamil
               and Doxy Mono

       Beginning in 2013 and continuing throughout the Class Period, Mylan entered into and



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maintained price-fixing agreements with the other major participants in the markets for three

additional generic drugs: Glip-Met, Verapamil and Doxy Mono. (SAC ¶¶ 187, 192, 195.)

               1.     Glipizide-Metformin

       An employee at Mylan and an employee at Heritage reached an agreement on a call on

April 23, 2014 to raise prices for Glip-Met, in addition to Verapamil and Doxy Mono. (SAC

¶ 193.) Shortly following the call, the employee at Heritage sent an email to Malek. (Id.)

Mylan was also in frequent communication during this period with the only other competitor for

Glip-Met, Teva. (Id.) For example, employees with responsibility for Glip-Met at Mylan spoke

to employees at Teva multiple times on May 9, 2014, including on one call that lasted more than

seven minutes. (Id.) The two firms communicated frequently throughout the rest of 2014. (Id.)

       Between July 1 and 9, 2014, Heritage increased the price nationwide on Glip-Met for at

least 27 different customers by as much as 100%. (SAC ¶ 193.) In accordance with their

agreement, neither Mylan nor Teva significantly challenged Heritage on its price increases. (Id.)

               2.     Verapamil

       The employee at Heritage responsible for communicating with Actavis about Verapamil

called Actavis on April 22, 2014, and they spoke for more than nine minutes. (SAC ¶ 196.) On

this call, Heritage and Actavis reached an agreement to raise the price of Verapamil. (Id.) The

Actavis employee then spread news of the agreement internally, as evidenced by an email dated

April 28, 2014 regarding potential price increases. (Id.)

       Then, in coordinated fashion, an employee at Mylan and an employee at Heritage reached

an agreement on a call on April 23, 2014 to raise prices for Verapamil.            (SAC ¶ 197.)

Immediately following the call, the employee at Heritage contacted Malek by email. (Id.) On

May 6, 2014, an employee at Actavis who had received the April 28, 2014 email described

above called an employee at Mylan and left a message. (SAC ¶ 198.) The employee at Mylan


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returned the call on May 9, 2014, and the two spoke for three minutes, and they spoke again on

May 19, 2014 for about seven minutes and communicated often in the following months. (Id.)

       On May 8, 2014, Malek emailed the sales team at Heritage and asked them to confirm

from which competitors they had been able to obtain agreements relating to the planned price

increases in certain generic drugs. (SAC ¶ 199.) On May 9, 2014, Heritage held a conference

call, on which it was made clear that Verapamil was on the list of drugs targeted for a price

increase. (Id.) In 2014, Heritage raised the price for Verapamil for at least one customer as part

of its price increase initiative. (SAC ¶ 200.)

               3.      Doxycycline Monohydrate

       An employee at Mylan and an employee at Heritage reached an agreement on a call on

April 23, 2014 to raise prices for Doxy Mono. (SAC ¶ 190.) Shortly following the call, the

employee at Heritage sent an email to Malek. (Id.)

       D.      In August 2016, Mylan’s Stock Dropped When Its Anticompetitive Conduct
               Relating to EpiPen Was Partially Revealed and Risks Materialized

       In late August 2016, a series of news articles highlighted Mylan’s 500% increase in the

price of EpiPen. (SAC ¶¶ 302-07.) The same week, U.S. Senators called for government

investigations, including an FTC investigation, into Mylan’s conduct and whether Mylan had

violated antitrust laws to be able to raise the price of this drug so massively. (SAC ¶ 305.)

These articles and announcements were partial revelations of Mylan’s anticompetitive activity

relating to EpiPen, and were materializations of related undisclosed risks.          Upon these

revelations, Mylan’s stock price dropped precipitously $6.17 or 12.51% between August 19 and

August 24, 2016.

       E.      On October 31, 2017, Mylan’s Stock Dropped Upon Revelation of Additional
               Allegations by the CT AG

       On October 31, 2017, the CT AG announced that the States were filing an amended


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complaint in the States’ suit against Mylan, and attached a copy of the proposed amended

complaint.   (SAC ¶ 394.)     The State AGs’ AC contained numerous detailed and damning

allegations never previously revealed, based on internal emails and other documents, including,

inter alia, that the President of Mylan, Defendant Malik, had personally participated in the

Company’s illegal market allocation activity. (Id.) The State AGs’ AC also alleged for the first

time that Mylan had participated in fixing the price of three additional generic drugs. (Id.) On

this news, Mylan’s shares fell $2.53, or 6.62%. (Id.)

III.   ARGUMENT: DEFENDANTS FURTHER VIOLATED SECTION 10(b) BY
       FAILING TO DISCLOSE THE COMPANY’S ANTICOMPETITIVE ACTIVITY
       RELATING TO EPIPEN AND CERTAIN GENERIC DRUGS

       A.      Plaintiffs Adequately Allege Numerous Misleading Statements and
               Omissions
       The first element of a Section 10(b) claim requires a qualifying “misstatement[] or

omission[],” which is any one that “viewed as a whole, would have misled a reasonable

investor.” Berger v. Apple REIT Ten, Inc., 563 F. App’x 81, 83 (2d Cir. 2014). “It is well-

established precedent in this Circuit that once a company speaks on an issue or topic, there is a

duty to tell the whole truth” on the issue or topic. In re Vivendi, S.A. Sec. Litig., 838 F.3d 223,

258 (2d Cir. 2016); see Meyer v. JinkoSolar Holdings Co., 761 F.3d 245, 251 (2d Cir. 2014).

               1.     Mylan Misled Investors About Its Exclusionary Rebates for the
                      EpiPen

       Mylan repeatedly misled investors during the Class Period regarding its exclusionary

rebates for the EpiPen by making statements regarding, for example, the means Mylan used to

compete, while omitting to disclose that Mylan competed by offering rebates to third-party

payors conditioned on exclusivity to block Sanofi from the market. (See, e.g., SAC ¶¶ 303-04.)

       Defendants argue that their misstatements and omissions relating to Mylan’s conditional

rebates are only actionable if these rebates constitute a formal antitrust violation under U.S.


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antitrust law. (Defs.’ Mem. 5-6.) However, Section 10(b) requires only that Plaintiffs allege a

misleading statement; a plaintiff need adequately allege an antitrust violation in connection with

a Section 10(b) claim only if the alleged misleading statements are false solely because the

defendant committed an antitrust violation. See In re AXIS Capital Holdings Ltd. Sec. Litig., 456

F. Supp. 2d 576, 585 (S.D.N.Y. 2006) (requiring adequate antitrust allegations because claims

were “entirely dependent” on antitrust violation); Menaldi v. Och-Ziff Capital Mgmt. Grp. LLC,

164 F. Supp. 3d 568, 578 (S.D.N.Y. 2016) (same). Here, Mylan’s failure to list its conditional

rebates as among the means by which it competed and among the reasons for its success misled

investors regarding the source of the Company’s success and the nature of its competitive

activity. As the SAC now clearly alleges (e.g., SAC ¶ 14), these omissions were misleading

regardless of whether or not the conditional rebates constituted antitrust violations.

       In any event, Plaintiffs have adequately pleaded that Mylan’s conditional rebates violated

antitrust laws, in particular, Section 2 of the Sherman Act. (SAC ¶¶ 103-14.) Indeed, the district

court overseeing the antitrust suit by Sanofi and the consumer class against Mylan already has

ruled that allegations substantially the same as those alleged in the SAC sufficiently state a claim

for Mylan’s violation of Section 2. In re EpiPen Mktg., Sales Practices & Antitrust Litig., No.

17-cv-02785, 2017 U.S. Dist. LEXIS 209710, at **63-69 (D. Kan. Dec. 21, 2017); In re EpiPen,

No. 17-md-02785, 2018 U.S. Dist. LEXIS 140323, at **52-64 (D. Kan. Aug. 20, 2018).

       The holdings in the In re EpiPen cases are sound. A firm violates Section 2 “when it

acquires or maintains . . . a monopoly by engaging in exclusionary conduct” that has a net

“anticompetitive effect.” United States v. Microsoft Corp., 253 F.3d 34, 58 (D.C. Cir. 2001).

Defendants do not (and cannot) dispute that Mylan has a monopoly in the market for epinephrine

autoinjectors. (SAC ¶ 100.) Mylan maintained its monopoly by engaging in exclusionary




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conduct; the Company offered irresistible rebates to third-party payors that were conditioned on

their excluding Sanofi’s Auvi-Q (and often other epinephrine autoinjectors as well) from their

formularies, and those rebates effectively excluded Auvi-Q from the market. (SAC ¶¶ 104-06.)

Mylan’s conduct had an anticompetitive effect. Through its conduct Mylan was able to increase

the price of EpiPen by more than 500%, and even increased the net, after-rebate price of EpiPen.

(SAC ¶ 100, 105.) Mylan also stifled innovation by effectively blocking the innovative Auvi-Q

from over 50% of the market nationwide.         (SAC ¶¶ 103, 107-08.)       Accordingly, Mylan’s

exclusionary conduct harmed competition and violated Section 2. See 2017 U.S. Dist. LEXIS

209710, at *63-69.

       In response, Defendants argue first that the Court’s prior holding with respect to Mylan’s

exclusive dealing agreements with schools is somehow applicable to Mylan’s exclusionary

rebates to third-party payors. (Defs.’ Mem. 7-8.) To the contrary, while exclusive dealing

agreements are indeed “presumptively legal,” MTD Op. 29, here Mylan’s exclusionary rebates

substantially foreclosed competition (SAC ¶¶ 107-13), including by preventing Sanofi from

developing a “critical mass” of customers, so the presumption of legality is overcome. In re

EpiPen, 2017 U.S. Dist. LEXIS 209710, at **46-47 (“the probable effect of Mylan’s rebate

program—conditioned on exclusivity—substantially foreclosed competition”) (citing Dial Corp.

v. News Corp., 165 F. Supp. 3d 25, 31 (S.D.N.Y. 2016)); Tampa Elec. Co. v. Nashville Coal Co.,

365 U.S. 320, 327 (1961). Likewise, the SAC alleges with specificity the form and manner in

which these rebates were offered, and alleges that this exclusionary conduct harmed competition

(SAC ¶¶ 104-113). That is, the SAC pleads with specificity what the Court found the FAC had

failed to plead regarding Mylan’s agreements with schools. MTD Op. 29.

       Defendants also argue that Plaintiffs have failed to allege that the “anticompetitive effects




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[of its exclusionary rebates] outweigh[ed] [any] procompetitive effects.”          (Defs.’ Mem. 8.)

Defendants are wrong.       Plaintiffs clearly allege that “Mylan’s rebates did not have any

procompetitive effects,” and explain in particular that Mylan’s rebates actually caused the price

of EpiPen to increase. (SAC ¶ 105.) Plaintiffs have no further burden at the pleading stage to

allege that Mylan’s rebates had no procompetitive effects. See, e.g., In re Namenda Direct

Purchaser Antitrust Litig., No. 15-cv-7488-CM, 2017 U.S. Dist. LEXIS 83446, at *32-33

(S.D.N.Y. May 23, 2017) (“[O]nce a plaintiff establishes that a monopolist’s conduct is

anticompetitive or exclusionary, the monopolist may proffer ‘nonpretextual’ procompetitive

justifications . . . . The plaintiff may then either rebut those justifications or demonstrate that the

anticompetitive harm outweighs the procompetitive benefit.”). Here, Defendants fail even to

proffer any procompetitive justification.

       Finally, Defendants argue that because the Third Circuit has found that certain rebates

offered by non-party Sanofi in a wholly different context are legal, the rebates offered by Mylan

here must also have been legal. (Defs.’ Mem. 7-8.) This argument flatly fails because unlike

Mylan’s rebates, Sanofi’s rebates that the Third Circuit found to be legal did not exclude

competitors from the market. See Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 400 (3d

Cir. 2016) (“In essence, the contract did not prohibit members from putting other anticoagulant

drugs on their formularies, but did prohibit them from favoring those drugs over Lovenox.”).

Indeed, this same argument was rejected by the Court overseeing Sanofi’s antitrust lawsuit

against Mylan. In re EpiPen, 2017 U.S. Dist. LEXIS 209710, at **37-40 & n.3.

               2.      Mylan Misled Investors About Its Allocation of the Market for
                       Doxy DR and Its Price Fixing of Glip-Met, Verapamil and Doxy Mono

       Defendants also repeatedly misled investors by describing the means by which Mylan

competed, the competition it faced, and the sources of its income, yet omitting the crucial facts



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that it competed through anticompetitive agreements to allocate the market for Doxy DR and to

fix the price of Glip-Met, Verapamil and Doxy Mono.6 (SAC ¶¶ 123-52; 187-200.)

        Defendants argue again that their misstatements and omissions relating to Mylan’s price-

fixing activity are only actionable if such activity formally violated antitrust laws. (Defs.’ Mem.

6.) However, as explained above, see supra, Part II.A.1, a plaintiff need allege an antitrust

violation in connection with a Section 10(b) claim only if the alleged misleading statements are

false solely because the defendant committed an antitrust violation. See In re AXIS, 456 F. Supp.

2d at 585; Menaldi, 164 F. Supp. 3d at 578.

        In any event, the Court already has found that Plaintiffs have adequately pleaded the

existence of an illegal market allocation agreement, MTD Op. 31, and Plaintiffs also have now

adequately pleaded that Defendants violated antitrust law, including Sherman Act Section 1, in

fixing the prices of Glip-Met, Verapamil and Doxy Mono. “[T]o survive a motion to dismiss [a

Section 1 price-fixing claim], plaintiffs need only plead ‘enough factual matter (taken as true) to

suggest that an agreement was made . . . .’” Starr v. Sony BMG Music Entm’t, 592 F.3d 314, 325

(2d Cir. 2010) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007)). “‘Allegations of

direct evidence of an agreement, if sufficiently detailed, are independently adequate’ . . . . [F]or

example . . . a recorded phone call in which two competitors agreed to fix prices at a certain

level.” Mayor & Council of Balt. v. Citigroup, Inc., 709 F.3d 129, 136 (2d Cir. 2013).

        Plaintiffs plausibly plead the existence of an express agreement between Mylan and its

competitors to fix the prices of Glip-Met, Verapamil and Doxy Mono. Indeed, the SAC alleges



6
 See, e.g., In re Sotheby’s Holdings, Inc. Sec. Litig., No. 00-cv-1041 (DLC), 2000 U.S. Dist. LEXIS 12504, at **11,
13-14 (S.D.N.Y. Aug. 30, 2000) (declining to dismiss a securities fraud claim where a corporation stated that
competition with its competitor was “intense” when in fact the two corporations had entered into a price fixing
agreement); In re Par Pharm., Inc. Sec. Litig., 733 F. Supp. 668, 678 (S.D.N.Y. 1990); Menkes v. Stolt-Nielsen S.A.,
No. 3:03-CV-409(DJS), 2005 U.S. Dist. LEXIS 28208, at **24-25 (D. Conn. Nov. 10, 2005) (description of the
pricing environment as “tight” and subject to continued “pressure” was actionable).


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the specific phone call on which Mylan agreed to fix the prices of these drugs: on April 23,

2014, an employee at Mylan and the employee at Heritage with primary responsibility for

pricing of Glip-Met, Verapamil and Doxy Mono held a telephone call on which the two

expressly agreed to raise the prices of these drugs. (SAC ¶¶ 189, 193, 197.) Immediately

following this call, the Heritage employee emailed Malek, a central participant in the price-fixing

activity the Court already has found to have been adequately pleaded.                        MTD Op. 31-33.

Moreover, the sellers of each of these drugs, including Mylan, were in frequent contact with each

other around the time of the April 23, 2014 call, as detailed in the SAC. (See, e.g., SAC ¶¶ 188-

89; 193, 196-99.) These allegations are “independently adequate” to plead the existence of a

price-fixing agreement.7 Citigroup, Inc., 709 F.3d at 136.

                 3.       Mylan’s Statements Explaining the Reasons for Its Income Are
                          Actionable

        As the Court has held, Mylan’s statements explaining the reasons for its income are

actionable because in failing to disclose its exclusionary rebates (and price-fixing activities),

Mylan failed to tell the whole truth about the reasons for its past sources of income. MTD Op.

11-12. Mylan’s statements explaining the reasons for its income would be actionable even if

Mylan’s highly suspicious exclusionary rebates (and price-fixing) did not constitute antitrust

violations (they do). While this Court has held that Mylan was not obligated to disclose that its

past conduct put it at risk of future regulatory scrutiny, MTD Op. 12, Mylan nevertheless had to

disclose such past conduct, regardless of whether that highly suspicious conduct formally

constituted an antitrust violation, because disclosure was necessary to tell the whole truth about

the reasons for its past sources of income. See, e.g., In re Vivendi, 838 F.3d at 258.

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  Defendants puzzlingly cite In re London Silver Fixing, Ltd. Antitrust Litigation for the proposition that
communications that do not reference an agreement to fix prices do not adequately support a claim for price-fixing.
No. 14-md-2573, 2018 WL 3585277, at *6-9 (S.D.N.Y. July 25, 2018). Here, the SAC does allege communications
that do reference an express agreement to fix prices. (SAC ¶¶ 189, 193, 197.)



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           Defendants’ argument that such omissions are not actionable because Mylan was not

obligated to disclose future risk conflates the falsity and materiality requirements of Section

10(b). (Defs.’ Mem. 12.) Mylan’s statements explaining the reasons for its income were

misleading because they omitted Mylan’s past conduct, including the means it used to compete.

Mylan’s past conduct was material to investors, regardless of whether the conduct formally

constituted an antitrust violation, because at a minimum the conduct put the Company at risk of

future regulatory scrutiny, even though Mylan was not obligated to spell out that future risk to

investors. Defendants were required to disclose past conduct impacting sources of income, MTD

Op. 11, but did not, and Defendants do not challenge the materiality of such omissions.8

                    4.       Statements by Malik Are Misleading Insofar as They Are Statements
                             of How Mylan Competes or Reasons for Mylan’s Performance

           Defendants concede, as they must, that statements by Defendant Malik were misleading

to the extent those statements gave reasons for Mylan’s financial performance, yet failed to

disclose that Mylan’s results were achieved through anticompetitive means, including

exclusionary rebates, market allocation and price fixing. (Defs.’ Mem. 17-18.) Defendants

wrongly argue, however, that those statements by Defendant Malik nevertheless are not

actionable because, according to Defendants, the SAC fails adequately to allege that Malik acted

with scienter. (Defs.’ Mem. 18-23.) It does, as explained below. See infra, Part III.B.

           B.       Defendants Acted with Scienter
           The second element of Plaintiffs’ Section 10(b) claim that Defendants challenge is

scienter. In the Second Circuit, a strong inference of scienter “can be established by alleging

facts to show . . . strong circumstantial evidence of conscious misbehavior or recklessness.”

ECA & Local 134 IBEW Joint Pension Tr. of Chi. v. JP Morgan Chase Co., 553 F.3d 187, 198


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    Defendants do not challenge the materiality of any of the misstatements or omissions alleged in the SAC.



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(2d Cir. 2009); Menaldi, 164 F. Supp. 3d at 585. Conscious misbehavior encompasses, among

other things, “deliberate illegal behavior,” Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000).

Recklessness with respect to an omission is adequately pleaded where the “plaintiff has pleaded

facts demonstrating that [the defendant] had access to information indicating that [the omission]

was [misleading].” In re Alstom SA Sec. Litig., 406 F. Supp. 2d 433, 456 (S.D.N.Y. 2005).

               1.      Defendants Knew About Mylan’s Exclusionary Rebates

       Defendants were well aware of the massive rebates that the Company offered to third-

party payors contingent on their excluding Sanofi from the market for epinephrine autoinjectors.

As the Court already has held, the SAC adequately alleges that Mylan’s CEO and CFO

“certainly had access to, and actively participated in, pricing decisions.” MTD Op. 34. As CW

makes clear, “pricing decisions at Mylan occurred frequently and involved all of Mylan’s top

executives,” and “the CEO and CFO . . . reviewed any price adjustments and had the last word

on pricing decision for Mylan’s drugs.” When it came to price, “[e]verything went up through

the top.” (SAC ¶¶ 122, 404.) Accordingly, Mylan’s top executives, including the Individual

Defendants, each certainly knew about, or at a minimum, recklessly disregarded, the massive

rebates Mylan offered to third-party payors on purchases of the Company’s key drug, EpiPen.

       Moreover, though not required to do so, Plaintiffs have pleaded adequately that

Defendants violated antitrust laws through their use of these exclusionary rebates. See supra,

Part II.A.1. Even standing alone, these pleadings are sufficient to allege conscious misbehavior,

and therewith scienter, with respect to this anticompetitive activity. See Novak, 216 F.3d at 308.

Additional allegations cement this conclusion. That Mylan’s sales of EpiPen are part of its core

operations (SAC ¶ 30) “buttress the allegations of scienter.” In re Salix Pharm., Ltd., No. 14-cv-

8925, 2016 U.S. Dist. LEXIS 54202, at *50 (S.D.N.Y. Apr. 22, 2016). Defendants’ SOX

certifications likewise support an inference of scienter in the Court’s holistic analysis. See, e.g.,


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In re Atlas Air Worldwide Holdings, Inc. Sec. Litig., 324 F. Supp. 2d 474, 491 (S.D.N.Y. 2004).

                 2.       Defendants, Including Defendant Malik, Unquestionably Knew About
                          Mylan’s Allocation of the Market for Doxy DR

        Allegations in the SAC make clear not only that Mylan knew about its allocation of the

market for Doxy DR, but also that Mylan’s own President, Defendant Malik, personally

participated extensively in the illegal market allocation. The SAC alleges that on May 8, 2013,

Defendant Malik spoke to Heritage’s President and CEO Jeffrey Glazer on a call and agreed to

give up two pharmacy accounts, representing approximately thirty percent of the market for

Doxy DR, to Heritage as compensation for Heritage’s prior agreement to allow Mylan to enter

the market for another drug without competition.                 (SAC ¶¶ 129-31.)         The knowledge of

Defendant Malik, Mylan’s President, may be “readily attributed” to Mylan. See Loreley Fin.

(Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 177 (2d Cir. 2015).

        In response, Defendants attempt to dodge and argue that the allegations impermissibly

rely on other unadjudicated complaints. (Defs.’ Mem. 21-23.) As an initial matter, these

allegations come from multiple sources, and the SAC does not specify to what extent these

allegations are based on complaints in other actions. Plaintiffs are not required to reveal their

sources of information in complaints. See Novak, 216 F.3d at 313. Yet in any event, the Court

already has found that allegations relying on the State AGs’ Complaint may properly serve as the

basis for pleadings in this action. See, e.g., MTD Op. 31 (“Relying on information contained in a

joint complaint filed by the attorneys general of many different states, Plaintiffs allege [. . .].

These allegations are sufficient to plausibly plead the existence of a market allocation

arrangement . . . .”).9



9
  In re Initial Pub. Offering Sec. Litig., 544 F. Supp. 2d 277, 284 (S.D.N.Y. 2008) (“The law of the case doctrine
generally forecloses relitigation of issues expressly or impliedly decided earlier in the proceeding.”).



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         The Court acted soundly in permitting Plaintiffs to rely on allegations in the State AGs’

AC.10 The weight of authority in this District and others holds that reliance on well-pleaded

factual allegations in complaints in other actions is appropriate.11 The reasoning behind this

consensus is clear and persuasive: “[i]t makes little sense to say that information from . . . a

study [or investigation]—which the [complaint] could unquestionably rely on if it were

mentioned in a news clipping or public testimony—is immaterial simply because it is conveyed

in an unadjudicated complaint.” In re Bear Stearns, 851 F. Supp. 2d at 768 n.24 (S.D.N.Y.

2012). While journalists have a motive to exaggerate facts so as to tell a more engaging story for

readership, Courts have no trouble recognizing that journalists usually aim to report the facts

accurately and accepting journalists’ factual assertions. See id. Similarly, while litigants, as

advocates, are motivated—indeed required—to make legal assertions in their complaints that

favor their cases, litigants certainly may not make up detailed factual allegations without risking

serious professional repercussions. See Fed. R. Civ. P. 11; ABA Mod. R. Prof. Conduct 3.3.


10
   Defendants speculate that certain allegations relating to Mylan’s conditional rebates were drawn from the
complaint in In re EpiPen, No. 17-md-02785 (D. Kan. Oct. 17, 2017). (Defs.’ Mem. 6-7.) In fact, Plaintiffs
allegations relating to Mylan’s anticompetitive rebates come from a number of sources. (See SAC at 1.) In any
event, to the extent, if any, that certain allegations derive from the complaint in In re EpiPen, Plaintiffs reliance on
that complaint is wholly appropriate for the reasons explained in this section.
11
   See, e.g., Youngers v. Virtus Inv. Partners Inc., 195 F. Supp. 3d 499, 516 n.10 (S.D.N.Y. 2016) (“"[n]either
Circuit precedent nor logic supports such an absolute rule” against use of allegations in separate complaints); HSH
Nordbank AG v. RBS Holdings USA Inc., No. 13-cv-3303 (PGG), 2015 U.S. Dist. LEXIS 36087, at *7 (S.D.N.Y.
Mar. 20, 2015) (denying motion to strike and rejecting argument that plaintiffs could not include allegations from
another complaint); Strougo v. Barclays PLC, 105 F. Supp. 3d 330, 343 (S.D.N.Y. 2015) (“Permitting plaintiffs to
borrow allegations from the NYAG's complaint is warranted at this stage in the litigation. The facts are derived
from a credible complaint based on facts obtained after an investigation. In addition, counsel for plaintiffs have
indicated that they have reached out to attorneys at the NYAG to verify the allegations in the Complaint.”); In re
OSG Sec. Litig., 12 F. Supp. 3d 619, 620-21 (S.D.N.Y. 2014) (holding that a complaint may reference allegations
from a separate proceeding); VNB Realty, Inc. v. Bank of Am. Corp., No. 11 Civ. 6805 (DLC), 2013 U.S. Dist.
LEXIS 132250, at *9 (S.D.N.Y. Sep. 16, 2013) (same); In re Bear Stearns Mortgage Pass-Through Certificates
Litig., 851 F. Supp. 2d 746, 768 n.24 (S.D.N.Y. 2012) (same); In re Fannie Mae 2008 Sec. Litig., 891 F. Supp. 2d
458, 471 (S.D.N.Y. 2012) (same); Rodriguez v. City of N.Y., No. 16-cv-00214, 2016 WL 3264166, at *3 (E.D.N.Y.
June 13, 2016) (same); Martinez v. LVNV Funding LLC, No. 14-CV-00677 (RRM) (ST), 2016 U.S. Dist. LEXIS
136613, at *10 (E.D.N.Y. Sept. 30, 2016) (same); see also, e.g., In re Herbal Supplements Mktg. & Sales Practices
Litig., No. 15-cv-5070, 2017 U.S. Dist. LEXIS 76207, at *29 (N.D. Ill. May 19, 2017) ) (same); Abraha v. Colonial
Parking, Inc., 243 F. Supp. 3d 179, 193 (D.D.C. 2017) (same).



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         Here, there is no question that the allegations in the State AGs’ AC referenced by

Plaintiffs are reliable. They are highly detailed factual allegations, not legal conclusions, and

they are based on an extensive investigation conducted by a non-partisan group of 46 state

attorneys general and include citations to dozens of emails, phone records, and other

documents.12 See id. Moreover, Plaintiffs verified the allegations in the complaint by discussing

them with their source, the office of the CT AG. None of the cases on which Defendants rely

(Defs.’ Mem. 21-23) addressed the propriety of referencing allegations as reliable as those in the

State AGs’ AC, and they are readily distinguishable on that basis.13 Defendants’ cases also all

rely on a misreading of Lipsky v. Commonwealth United Corp., 551 F.2d 887 (2d Cir. 1976).

See, e.g., In re OSG, 12 F. Supp. 3d at 620-21 (explaining misplaced reliance on Lipsky).

                  3.       The SAC Adequately Pleads Scienter with Respect to Mylan’s Price-
                           Fixing of Glip-Met, Verapamil and Doxy Mono

         Defendants rightly do not contest that Plaintiffs have adequately pleaded scienter with

respect to Mylan’s price-fixing of Glip-Met, Verapamil and Doxy Mono for all Defendants other

than Defendant Malik. Indeed, the Court already has held that allegations from CW regarding

the involvement of top executives in all pricing decisions were sufficient to allege Defendants’

scienter with respect to the Company’s price-fixing activity, MTD Op. 33-34, and that holding

applies with equal force to Plaintiffs’ new price-fixing allegations.

         Defendants argue that Plaintiffs nevertheless have failed adequately to plead Malik’s
12
  Notably, the reliability of these allegations is further confirmed by the guilty pleas of Glazer and Malek, who have
admitted in the DOJ’s investigation to conspiring to manipulate prices of a glyburide and doxycycline between April
2013 and December 2015. (SAC ¶ 390.)
13
   For example, in Low v. Robb, No. 11-cv-2321, 2012 U.S. Dist. LEXIS 6836, at **25-27 (S.D.N.Y. Jan. 20, 2012),
the Court struck allegations from “unrelated disputes and lawsuits involving [the defendant]” that concerned a
“financial dispute between [the defendant] and his siblings.” The allegations were mostly conclusory, ad hominem
attacks, such as “Robb Jr. had already successfully squeezed his family out of the proceeds of the sale of the family
business and now he was going to do the same thing to Low,” that bore none of the indicia of reliability the
allegations here have. Compl. ¶ 7, Low v. Robb, No. 11-cv-2321 (S.D.N.Y. Apr. 5, 2011), ECF No. 1. In RSM
Production Corp. v. Fridman, 643 F. Supp. 2d 382, 403-04 (S.D.N.Y. 2009), the Court actually refused to strike
allegations, like those at issue here, that were not alleged to have been based solely on complaints in other actions.



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scienter with respect to Mylan’s price-fixing of these drugs. Yet the same allegations in the SAC

from CW that the Court found to be adequate to plead the scienter of the other Individual

Defendants likewise support Malik’s scienter. CW reports that “pricing decisions at Mylan

occurred frequently and involved all of Mylan’s top executives,” and that when it came to price,

“[e]verything went up through the top.” (MTD Op. 33; SAC ¶ 122.) Defendant Malik, as

President, was certainly one of Mylan’s “top executives.” Moreover, the SAC expressly alleges,

as an example of the President’s involvement in pricing decisions, that “the president” discussed

at what price to sell the generic drug doxycycline. (SAC ¶ 122.) Indeed, given Malik’s direct

involvement in manipulating the market for Doxy DR, it is difficult to imagine that Malik did not

at least recklessly disregard the price fixing of these other generic drugs. (SAC ¶¶ 123-52.)

               4.     Mylan’s Widespread Anticompetitive Schemes Reinforce the Strong
                      Inference of Scienter for All Such Activity

       Moreover, that anticompetitive activity was rampant at Mylan further supports scienter.

(SAC passim.) Tellabs teaches that scienter allegations are to be judged “holistically.” Tellabs,

Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 326 (2007). Here, allegations of Mylan’s

exclusionary rebates, market allocation and price-fixing activity, in addition to the extensive

allegations already sustained regarding Mylan’s price fixing of generic drugs, add up to an

inescapable inference of scienter. Indeed, even beyond these allegations, the court overseeing

antitrust suits against Mylan recently held that allegations substantially similar to those

previously alleged in the FAC regarding Mylan’s pay-for-delay scheme with Teva and its

exclusive dealing agreements with schools stated claims for antitrust violations, and this holding

further supports a reasonable inference of scienter here. See In re EpiPen, 2018 U.S. Dist.

LEXIS 140323, at *93. In that case, the Court found that such conduct was part of an overall

anticompetitive scheme to inflate the price of EpiPen and exclude competitors. Id.



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       C.      Plaintiffs Have Adequately Pleaded Loss Causation for Each of the Dates
               Specified in the Amended Complaint
       The third element of Plaintiffs’ Section 10(b) claims, loss causation, “is not intended to

impose a great burden on a plaintiff,” as Plaintiffs need only meet Rule 8 notice pleading

standards, which are met by “provid[ing] a defendant with some indication of the loss and the

causal connection that the plaintiff has in mind . . . .” MTD Op. 35-36 (quoting Fin. Guar. Ins.

Co. v. Putnam Advisory Co., LLC, 783 F.3d 395, 404 (2d Cir. 2015)); Dura Pharm., Inc. v.

Broudo, 544 U.S. 336, 347 (2005). “Whether the truth comes out by way of a corrective

disclosure describing the precise fraud . . . , or through events constructively disclosing the fraud,

does not alter the basic loss-causation calculus.” In re Vivendi, 838 F.3d at 262.

       The Court already has held that Plaintiffs have sufficiently pleaded loss causation, and

rightly “defer[red] questions about the robustness of Plaintiff’s selection of corrective disclosures

to a later stage of litigation, after the aid of discovery.” MTD Op. 35-36. For this reason,

Defendants’ loss causation arguments here are barred by the law of the case doctrine. In re

Initial Pub. Offering, 544 F. Supp. 2d at 284. Defendants nevertheless argue: (1) that Plaintiffs

have not adequately pleaded loss causation with respect to statements made between February

2012 and March 2013, and (2) that losses based on the newly alleged October 31, 2017

corrective disclosure must be dismissed. Both arguments fail.

               1.      Plaintiffs Have Adequately Pleaded Loss Causation with Respect to
                       Statements Made Between February 2012 and March 2013

       Defendants argue that the price of Mylan’s stock between February 2012 and March

2013 was lower than the price of the stock during the remainder of the Class Period, so Plaintiffs

could not have suffered any actual losses on stock purchased during this period. (Defs.’ Mem.

13-14.) Where Plaintiffs have suffered no actual losses, Defendants argue, Plaintiffs cannot

recover for drops in the value of their stock attributable to Mylan’s fraud. (Id.)


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         Beyond being barred by the law of the case doctrine and Rule 12(g),14 Defendants’

argument fails because neither the Exchange Act nor the PSLRA limits damages to the

difference between purchase price and sale price. (Defs.’ Mem. 13-14.) To be sure, the PSLRA

contains a 90-day bounce-back provision that caps damages for Section 10(b) fraud claims to the

difference between what a Plaintiff paid for a share and the average price of the share in the 90-

day period following the end of the Class Period where the plaintiff held his shares beyond the

end of the class period. 15 U.S.C. § 78u-4(e)(1). However, that change to the traditional

jurisprudence of loss causation is limited by its terms. Id. The provision does not limit a Class

members’ losses if she or he held shares through a partial corrective disclosure and sold the

shares prior to the end of the Class Period, as such a sale would not trigger the 90-day bounce-

back provision.15 See Acticon AG v. China N. E. Petroleum Holdings, Ltd., 692 F.3d 34, 39-40

(2d Cir. 2012) (“Aside from imposing the ‘bounce back’ cap . . . , Congress did not otherwise

disturb the traditional out-of-pocket method for calculating damages in the PSLRA[,] . . . which

consist[s] of the difference between the price paid and the ‘value’ of the stock when purchased.”)

                  2.       Plaintiffs Have Adequately Pleaded Losses Based on the October 31,
                           2017 Corrective Disclosure

         The SAC alleges that Mylan’s stock dropped significantly when the CT AG announced

on October 31, 2017 that the States intended to file an amended complaint in their action against

Mylan, and attached the proposed State AGs’ AC. The State AGs’ AC contained numerous
14
  Defendants’ argument is barred by Rule 12(g), as it could have been raised in Defendants’ first motion to dismiss,
but was not. See Fed. R. Civ. P. 12(g); Arcadia Aviation PHF, LLC v. Aero-Smith, Inc., No. 12-cv-6177, 2013 WL
3717651, at *4 (S.D.N.Y. July 16, 2013) (rejecting, under Rule 12(g), dismissal argument that could have been
made earlier but was not); see also 5C Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. Civ. § 1384 (3d
ed. 2018) (“[Under] Subdivision (g) . . . [a]ny defense that is available at the time of the original motion, but is not
included, may not be the basis of a second pre-answer motion.”).
15
  15 U.S.C. § 78u-4(e)(1)-(2) imposes a cap on damages only where a plaintiff sells its shares after or during the
ninety day ‘bounce back’ period following the final corrective disclosure that is the basis for the action. It does not
address—and therefore does not cap—damages for a plaintiff that sells shares after a partial corrective disclosure
but before the end of the class period, i.e., before the “information [fully] correcting the misstatement or omission”
was disseminated to the market. Id.



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allegations never previously revealed, including, inter alia, that the President of Mylan,

Defendant Malik, had personally participated in the Company’s illegal market allocation activity.

(SAC ¶ 394.) The State AGs’ AC also alleged for the first time that Mylan had participated in

fixing the price of three additional generic drugs. These allegations are more than adequate to

“provide [Defendants] with some indication of the loss and the causal connection that the

plaintiff has in mind . . . .” Dura, 544 U.S. at 347.

           In response, Defendants argue, remarkably, that the State AGs’ AC did not disclose any

new material information.16 (Defs.’ Mem. 15-16.) Of course it did. As explained above, the

State AGs’ AC alleged for the first time that Defendant Malik personally participated in illegal

anticompetitive activity, a revelation implicating the entire Company and strengthening the

credibility of the State AGs’ AC as a whole. Likewise, the State AGs’ AC first revealed the

findings of the State AGs’ investigation, including detailed factual allegations concerning the

time and manner of Mylan’s agreement to fix the price of Glip-Met, Verapamil and Doxy Mono.

Investors rightly found this new information to be far more damaging to Mylan than the mere

prior revelations that the Company’s pricing of these drugs was being investigated.

           Even if allegations regarding Malik and these three additional drugs were dismissed (they

should not be), the October 31, 2017 disclosure was still corrective as it revealed further bases

for the market to recognize that Mylan was involved in widespread anticompetitive activity.

     IV.    ARGUMENT: PLAINTIFFS HAVE PROPERLY PLEADED VIOLATIONS OF
            SECTION 20(a) BY THE INDIVIDUAL DEFENDANTS, INCLUDING MALIK

           To establish a prima facie case of control person liability, a plaintiff must show “(1) a

16
  This “truth on the market” defense is highly disfavored in motions to dismiss. See In re Merrill Lynch Auction
Rate Sec. Litig., 704 F. Supp. 2d 378, 394 (S.D.N.Y. 2010) (“[b]ecause the truth on the market defense is intensely
fact-specific, it is rarely an appropriate basis for dismissing a § 10(b) complaint.”); Ganino v. Citizens Utils. Co.,
228 F.3d 154, 167 (2d Cir. 2000) (to support the truth on the market defense “corrective information must be
conveyed to the public with a degree of intensity and credibility sufficient to counter-balance effectively any
misleading information created by the alleged misstatements.”)



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primary violation by the controlled person, (2) control of the primary violator by the defendant,

and (3) that the defendant was, in some meaningful sense, a culpable participant in the controlled

person’s fraud.” Acticon AG v. China N. E. Petroleum Holdings Ltd., 615 F. App’x 44, 45 (2d

Cir. 2015). With respect to (2), “Plaintiffs need not plead control in accordance with the

particularity required under Federal Rule of Civil Procedure 9(b).”                             Anwar v. Fairfield

Greenwich, Ltd., 728 F. Supp. 2d 372, 413 (S.D.N.Y. 2010). With respect to (3), “recklessness

is the appropriate minimum standard . . . under § 20(a).” Id. “Whether a person is a ‘controlling

person’ is a fact-intensive inquiry, and generally should not be resolved on a motion to dismiss.”

Katz v. Image Innovations Holdings, Inc., 542 F. Supp. 2d 269, 276 (S.D.N.Y. 2008).

         Defendants argue that Plaintiffs have failed to plead a Section 20(a) violation only with

respect to Defendant Malik. (Defs.’ Mem. 23-24.) Plaintiffs have adequately pleaded each of

the elements of a claim against Defendant Malik for violation of Section 20(a). First, Plaintiffs

have adequately pleaded numerous primary violations of Section 10(b). See supra Part III.

Second, the SAC expressly alleges Malik’s control of the primary violators at SAC ¶¶ 432-33.17

Allegations of exactly this sort have been found sufficient to allege control. See Anwar, 728

F. Supp. 2d at 413. Third, as described above, see supra Part III.B, the SAC adequately alleges

scienter on the part of Defendant Malik with respect to the primary violations of Section 10(b),

and such scienter is sufficient to allege Malik’s culpable participation. Id.

                                               V.      CONCLUSION

         For all the above reasons, Defendants’ Motion should be denied.




17
   For example, the SAC alleges: “By virtue of their high-level positions, and . . . awareness of the Company’s
operations . . . the Individual Defendants . . . did influence and control, directly or indirectly, the decision-making of
the Company, including the content and dissemination of the various statements [. . .] [E]ach [of the Individual]
Defendants had direct and supervisory involvement in the day-to-day operations of the Company.” SAC 432-33.



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Dated: September 5, 2018              Respectfully submitted,

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